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BARLEY SNYDER
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Court LD. No. 319779
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Attorneys for PinnacleHealth Obstetrics
and Gynecology Specialists,

Pinnacle Health Medical Services,
UPMC Pinnacle Hospitals,

UPMC Pinnacle and Lee Blecher, M.D.

 

BETHANY DITZLER,
Plaintiff

Vv.

PINNACLEHEALTH OBSTETRICS AND
GYNECOLOGY SPECIALISTS; UPMC
PINNACLE HOSPITALS;
UPMC PINNACLE; HANFORD NDLOVU;
BEVERLY A. HALL NDLOVU and LEE
BLECHER,

Defendants

 

IN THE UNITED STATES DISTRICT
COURT FOR THE MIDDLE DISTRICT
OF PENNSYLVANIA

NO. 2021-CV-01852

JURY TRIAL DEMANDED

 

ANSWER OF DEFENDANTS PINNACLEHEALTH OBSTETRICS AND
GYNECOLOGY SPECIALISTS, PINNACLE HEALTH MEDICAL SERVICES, UPMC
PINNACLE HOSPITALS, UPMC PINNACLE, AND LEE BLECHER, M.D., TO
PLAINTIFF’S COMPLAINT

AND NOW, come Defendants PinnacleHealth Obstetrics and Gynecology Specialists,

Pinnacle Health Medical Services, UPMC Pinnacle Hospitals, UPMC Pinnacle, and Lee

Blecher, M.D. (collectively, “Answering Defendants”), by and through their counsel, Barley

Snyder, and respond to Plaintiff's Complaint and aver the following:

1. Denied. The allegations in this paragraph are legal conclusions to which no

response is required. To the extent a response is required, Answering Defendant is without

knowledge or information sufficient to form a belief as to the truth of the averment concerning

the basis for federal jurisdiction in this matter, but admits that the United States District Court

for the Middle District of Pennsylvania is the proper federal venue for this matter, assuming

there is federal jurisdiction over this case.

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2. Admitted in part and denied in part. It is admitted that Plaintiff has filed a
professional negligence claim against all defendants arising from care rendered to Plaintiff. It is
specifically denied, however, that this action has any merit.

3. Denied. Answering Defendant is without knowledge or information sufficient to
form a belief as to the truth of the averments in this paragraph, which is denied and strict proof
thereof is demanded at the time of trial.

4, Denied. PinnacleHealth Obstetrics and Gynecology Specialists is not an
independent legal entity, but a fictitious name owned by Pinnacle Health Medical Services.

5. Admitted in part and denied in part. It is admitted that Pinnacle Health Medical
Services is a corporation existing under the laws of the Commonwealth of Pennsylvania and
that Plaintiff is asserting a professional liability claim against this defendant. The remaining
allegations in this paragraph are denied. It is also specifically denied that Plaintiff's
professional liability claim has merit.

6. Admitted in part and denied in part. It is admitted that UPMC Pinnacle
Hospitals, improperly named in the Complaint as “UPMC Pinnacle Harrisburg,” is a
corporation existing under the laws of the Commonwealth of Pennsylvania and that Plaintiff is
asserting a professional liability claim against this defendant. The remaining allegations in this
paragraph are denied. It is also specifically denied that Plaintiffs professional liability claim
has merit.

7. Admitted in part and denied in part. It is admitted that UPMC Pinnacle
Hospitals, improperly named in the Complaint as “Harrisburg Hospital,” is a corporation
existing under the laws of the Commonwealth of Pennsylvania and that Plaintiff is asserting a
professional liability claim against this defendant. The remaining allegations in this paragraph

are denied. It is also specifically denied that Plaintiff's professional liability claim has merit.

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8. Admitted in part and denied in part. It is admitted that UPMC Pinnacle,
improperly named in the Complaint as “PinnacleHealth,” is a corporation existing under the
laws of the Commonwealth of Pennsylvania and that Plaintiff is asserting a professional liability
claim against this defendant. The remaining allegations in this paragraph are denied. It is also
specifically denied that Plaintiff's professional liability claim has merit.

9. Admitted in part and denied in part. It is admitted that UPMC Pinnacle
Hospitals, improperly named in the Complaint as “PinnacleHealth Hospitals, Inc.,” is a
corporation existing under the laws of the Commonwealth of Pennsylvania and that Plaintiff is
asserting a professional liability claim against this defendant. The remaining allegations in this
paragraph are denied. It is also specifically denied that Plaintiff's professional liability claim
has merit.

10. | Admitted in part and denied in part. It is admitted that UPMC Pinnacle
Hospitals, improperly named in the Complaint as “PinnacleHealth Harrisburg Hospital,” is a
corporation existing under the laws of the Commonwealth of Pennsylvania and that Plaintiff is
asserting a professional liability claim against this defendant. The remaining allegations in this
paragraph are denied. It is also specifically denied that Plaintiffs professional liability claim
has merit.

11. | Denied. The averments of this paragraph are directed to a defendant other than
Answering Defendant and no response is required. To the extend a response is required, the
allegations in this paragraph are legal conclusions to which no response is required. It is also
specifically denied that Hanford Ndlovu, M.D., was an agent, servant, workman, or employee of
Answering Defendants and strict proof thereof is demanded at the time of trial.

12. | Denied. The averments of this paragraph are directed to a defendant other than

Answering Defendant and no response is required. To the extend a response is required, the

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allegations in this paragraph are legal conclusions to which no response is required. It is also
specifically denied that Beverly A. Hall Ndlovu, M.D., was an agent, servant, workman, or
employee of Answering Defendants and strict proof thereof is demanded at the time of trial.

13. Admitted in part and denied in part. It is admitted that at the time of Bethany
Ditzler’s birth, Lee Blecher, M.D., was a physician licensed to practice medicine in the
Commonwealth of Pennsylvania. It is further admitted that he currently resides at 14 Canfield
Ct., Potomac, MD 20854. Answering Defendants are without knowledge or information
sufficient to form a belief as to the truth of the remaining averments in this paragraph and the
same are denied.

14. Denied. The allegations in this paragraph are legal conclusions to which no
response is required.

15. Denied. Answering Defendants are without knowledge or information sufficient
to form a belief as to the truth of the averments in this paragraph, which is denied and strict
proof thereof is demanded at the time of trial.

16. Admitted in part and denied in part. This paragraph appears to reference and
interpret medical documentation which, being in writing, speaks for itself. To the extent
Plaintiff accurately restate or interpret the medical documentation, it is admitted only that
Plaintiffs accurately restated or interpreted the medical records. To the extent Plaintiffs
inaccurately restated or interpreted the medical documentation, the averments are denied.
Answering Defendants are without knowledge or information sufficient to form a belief as to
the truth of the remaining averments in this paragraph and the same are denied.

17. Admitted in part and denied in part. This paragraph appears to reference and
interpret medical documentation which, being in writing, speaks for itself. To the extent

Plaintiff accurately restate or interpret the medical documentation, it is admitted only that

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Plaintiffs accurately restated or interpreted the medical records. To the extent Plaintiffs
inaccurately restated or interpreted the medical documentation, the averments are denied.
Answering Defendants are without knowledge or information sufficient to form a belief as to
the truth of the remaining averments in this paragraph and the same are denied.

18. Denied. The allegations in this paragraph are legal conclusions to which no
response is required. To the extent a response is required, this paragraph is denied. It is further
specifically denied that Answering Defendants or their agents or employees were negligent in
the care and treatment provided to Plaintiff.

19. | Admitted in part and denied in part. This paragraph appears to reference and
interpret medical documentation which, being in writing, speaks for itself. To the extent
Plaintiff accurately restate or interpret the medical documentation, it is admitted only that
Plaintiffs accurately restated or interpreted the medical records. To the extent Plaintiffs
inaccurately restated or interpreted the medical documentation, the averments are denied.
Answering Defendants are without knowledge or information sufficient to form a belief as to
the truth of the remaining averments in this paragraph and the same are denied.

20. | Admitted in part and denied in part. This paragraph appears to reference and
interpret medical documentation which, being in writing, speaks for itself. To the extent
Plaintiff accurately restate or interpret the medical documentation, it is admitted only that
Plaintiffs accurately restated or interpreted the medical records. To the extent Plaintiffs
inaccurately restated or interpreted the medical documentation, the averments are denied.
Answering Defendants are without knowledge or information sufficient to form a belief as to
the truth of the remaining averments in this paragraph and the same are denied.

21. | Admitted in part and denied in part. This paragraph appears to reference and

interpret medical documentation which, being in writing, speaks for itself. To the extent

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Plaintiff accurately restate or interpret the medical documentation, it is admitted only that
Plaintiffs accurately restated or interpreted the medical records. To the extent Plaintiffs
inaccurately restated or interpreted the medical documentation, the averments are denied.
Answering Defendants are without knowledge or information sufficient to form a belief as to
the truth of the remaining averments in this paragraph and the same are denied.

22. Admitted in part and denied in part. This paragraph appears to reference and
interpret medical documentation which, being in writing, speaks for itself. To the extent
Plaintiff accurately restate or interpret the medical documentation, it is admitted only that
Plaintiffs accurately restated or interpreted the medical records. To the extent Plaintiffs
inaccurately restated or interpreted the medical documentation, the averments are denied.
Answering Defendants are without knowledge or information sufficient to form a belief as to
the truth of the remaining averments in this paragraph and the same are denied.

23. Admitted in part and denied in part. This paragraph appears to reference and
interpret medical documentation which, being in writing, speaks for itself. To the extent
Plaintiff accurately restate or interpret the medical documentation, it is admitted only that
Plaintiffs accurately restated or interpreted the medical records. To the extent Plaintiffs
inaccurately restated or interpreted the medical documentation, the averments are denied.
Answering Defendants are without knowledge or information sufficient to form a belief as to
the truth of the remaining averments in this paragraph and the same are denied.

24. Admitted in part and denied in part. This paragraph appears to reference and
interpret medical documentation which, being in writing, speaks for itself. To the extent
Plaintiff accurately restate or interpret the medical documentation, it is admitted only that
Plaintiffs accurately restated or interpreted the medical records. To the extent Plaintiffs

inaccurately restated or interpreted the medical documentation, the averments are denied.

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Answering Defendants are without knowledge or information sufficient to form a belief as to
the truth of the remaining averments in this paragraph and the same are denied.

25. | Admitted in part and denied in part. This paragraph appears to reference and
interpret medical documentation which, being in writing, speaks for itself. To the extent
Plaintiff accurately restate or interpret the medical documentation, it is admitted only that
Plaintiffs accurately restated or interpreted the medical records. To the extent Plaintiffs
inaccurately restated or interpreted the medical documentation, the averments are denied.
Answering Defendants are without knowledge or information sufficient to form a belief as to
the truth of the remaining averments in this paragraph and the same are denied.

26. | Admitted in part and denied in part. This paragraph appears to reference and
interpret medical documentation which, being in writing, speaks for itself. To the extent
Plaintiff accurately restate or interpret the medical documentation, it is admitted only that
Plaintiffs accurately restated or interpreted the medical records. To the extent Plaintiffs
inaccurately restated or interpreted the medical documentation, the averments are denied.
Answering Defendants are without knowledge or information sufficient to form a belief as to
the truth of the remaining averments in this paragraph and the same are denied.

27. | Admitted in part and denied in part. This paragraph appears to reference and
interpret medical documentation which, being in writing, speaks for itself. To the extent
Plaintiff accurately restate or interpret the medical documentation, it is admitted only that
Plaintiffs accurately restated or interpreted the medical records. To the extent Plaintiffs
inaccurately restated or interpreted the medical documentation, the averments are denied.
Answering Defendants are without knowledge or information sufficient to form a belief as to

the truth of the remaining averments in this paragraph and the same are denied.

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28. Denied. It is further specifically denied that Answering Defendants or their
agents or employees were negligent in the care and treatment provided to Plaintiff.

29. Denied. The allegations in this paragraph are legal conclusions to which no
response is required. To the extent a response is required, this paragraph is denied. It is further
specifically denied that Answering Defendants or their agents or employees were negligent in
the care and treatment provided to Plaintiff.

30. Denied. The allegations in this paragraph are legal conclusions to which no
response is required. To the extent a response is required, this paragraph is denied. It is further
specifically denied that Answering Defendants or their agents or employees were negligent in
the care and treatment provided to Plaintiff.

31. | Denied. The allegations in this paragraph are legal conclusions to which no
response is required. To the extent a response is required, this paragraph is denied. It is further
- specifically denied that Answering Defendants or their agents or employees were negligent in
the care and treatment provided to Plaintiff.

32. Denied. The allegations in this paragraph are legal conclusions to which no
response is required. To the extent a response is required, this paragraph is denied. It is further
specifically denied that Answering Defendants or their agents or employees were negligent in
the care and treatment provided to Plaintiff.

33. Denied. The allegations in this paragraph are legal conclusions to which no
response is required. To the extent a response is required, this paragraph is denied. It is further
specifically denied that Answering Defendants or their agents or employees were negligent in
the care and treatment provided to Plaintiff.

34. | Denied. The allegations in this paragraph are legal conclusions to which no

response is required. To the extent a response is required, this paragraph is denied. It is further

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specifically denied that Answering Defendants or their agents or employees were negligent in
the care and treatment provided to Plaintiff.
COUNT I —- NEGLIGENCE

Plaintiff, Bethany Ditzler v. Defendants, Hanford Ndlovu,
Beverly A. Hall Ndlovu and Lee Blecher

35. | Answering Defendants incorporate by reference all preceding paragraphs of this
Answer as though fully set forth at length.

36. | Admitted in part and denied in part. It is admitted only that Lee Blecher, M.D.,
was a physician at the time of Plaintiff's delivery and possessed the appropriate skill and
knowledge. Answering Defendants are without knowledge or information sufficient to form a
belief as to the truth of the remaining averments in this paragraph and the same are denied.

37. Denied. The allegations in this paragraph are legal conclusions to which no
response is required. To the extent a response is required, this paragraph is denied. It is further
specifically denied that Answering Defendants or their agents or employees were negligent in
the care and treatment provided to Plaintiff.

38. | Denied. The allegations in this paragraph are legal conclusions to which no
response is required. To the extent a response is required, this paragraph and its subparagraphs
are denied. It is further specifically denied that Answering Defendants or their agents or
employees were negligent in the care and treatment provided to Plaintiff.

39. Denied. The allegations in this paragraph are legal conclusions to which no
response is required. To the extent a response is required, this paragraph is denied. It is further
specifically denied that Answering Defendants or their agents or employees were negligent in

the care and treatment provided to Plaintiff.

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40. Denied. The allegations in this paragraph are legal conclusions to which no
response is required. To the extent a response is required, this paragraph and its subparagraphs
are denied. It is further specifically denied that Answering Defendants or their agents or
employees were negligent in the care and treatment provided to Plaintiff.

WHEREFORE, Defendants PinnacleHealth Obstetrics and Gynecology Specialists,
Pinnacle Health Medical Services, UPMC Pinnacle Hospitals, UPMC Pinnacle, and Lee
Blecher, M.D., demand judgment in their favor and against Plaintiff.

COUNT II —- VICARIOUS LIABILITY
Plaintiff, Bethany Ditzler v. Defendants, PinnacleHealth Obstetrics and Gynecology
Specialists, Pinnacle Health Medical Services, UPMC Pinnacle Hospitals, UPMC Pinnacle
and Lee Blecher, M.D.

41. | Answering Defendants incorporate by reference all preceding paragraphs of this
Answer as though fully set forth at length.

42. Denied. The allegations in this paragraph are legal conclusions to which no
response is required. To the extent a response is required, this paragraph is denied.

43. | Denied. The allegations in this paragraph are legal conclusions to which no
response is required. To the extent a response is required, this paragraph is denied.

44. Denied. The allegations in this paragraph are legal conclusions to which no
response is required. To the extent a response is required, this paragraph is denied. It is further
specifically denied that Answering Defendants or their agents or employees were negligent in
the care and treatment provided to Plaintiff.

45. Denied. The allegations in this paragraph are legal conclusions to which no
response is required. To the extent a response is required, this paragraph is denied. It is further
specifically denied that Answering Defendants or their agents or employees were negligent in

the care and treatment provided to Plaintiff.

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46. Denied. The allegations in this paragraph are legal conclusions to which no
response is required. To the extent a response is required, this paragraph is denied. It is further
specifically denied that Answering Defendants or their agents or employees were negligent in
the care and treatment provided to Plaintiff.

47. Denied. The allegations in this paragraph are legal conclusions to which no
response is required. To the extent a response is required, this paragraph and its subparagraphs
are denied. It is further specifically denied that Answering Defendants or their agents or
employees were negligent in the care and treatment provided to Plaintiff.

WHEREFORE, Defendants PinnacleHealth Obstetrics and Gynecology Specialists,
Pinnacle Health Medical Services, UPMC Pinnacle Hospitals, UPMC Pinnacle, and Lee
Blecher, M.D., demand judgment in their favor and against Plaintiff.

COUNT II - OSTENSIBLE AGENCY

Plaintiff, Bethany Ditzler v. Defendants, PinnacleHealth Obstetrics and Gynecology
Specialists, Pinnacle Health Medical Services, UPMC Pinnacle Hospitals, UPMC Pinnacle

48. | Answering Defendants incorporate by reference all preceding paragraphs of this
Answer as though fully set forth at length.

49. Denied. The allegations in this paragraph are legal conclusions to which no
response is required. To the extent a response is required, this paragraph is denied.

50. Denied. The allegations in this paragraph are legal conclusions to which no
response is required. To the extent a response is required, this paragraph is denied.

51. Denied. The allegations in this paragraph are legal conclusions to which no
response is required. To the extent a response is required, this paragraph is denied. It is further
specifically denied that Answering Defendants or their agents or employees were negligent in

the care and treatment provided to Plaintiff.

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52. Denied. The allegations in this paragraph are legal conclusions to which no
response is required. To the extent a response is required, this paragraph is denied. It is further
specifically denied that Answering Defendants or their agents or employees were negligent in
the care and treatment provided to Plaintiff.

WHEREFORE, Defendants PinnacleHealth Obstetrics and Gynecology Specialists,
Pinnacle Health Medical Services, UPMC Pinnacle Hospitals, UPMC Pinnacle, and Lee
Blecher, M.D., demand judgment in their favor and against Plaintiff.

COUNT IV - CORPORATE NEGLIGENCE

Plaintiff, Bethany Ditzler v. Defendants, PinnacleHealth Obstetrics and Gynecology
Specialists, Pinnacle Health Medical Services, UPMC Pinnacle Hospitals, UPMC Pinnacle

53. | Answering Defendants incorporate by reference all preceding paragraphs of this
Answer as though fully set forth at length.

54. Denied. The allegations in this paragraph are legal conclusions to which no
response is required. To the extent a response is required, this paragraph and its subparagraphs
are denied. It is further specifically denied that Answering Defendants or their agents or
employees were negligent in the care and treatment provided to Plaintiff.

WHEREFORE, Defendants PinnacleHealth Obstetrics and Gynecology Specialists,
Pinnacle Health Medical Services, UPMC Pinnacle Hospitals, UPMC Pinnacle, and Lee

Blecher, M.D., demand judgment in their favor and against Plaintiff.

AFFIRMATIVE DEFENSES
1. Plaintiff fails to state a claim upon which relief may be granted against
Answering Defendants.
2. Some or all of Plaintiff's claims may be barred by the statute of limitations.
3. Some or all of Plaintiff's claims may be barred by the doctrine of laches.

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4. Plaintiffs recovery is barred in whole or in part to the extent of any failure to
mitigate damages.

5. Plaintiff's claims are barred in whole or in part to the extent that the doctrines of
res judicata and/or collateral estoppel apply.

6. Plaintiff may have entered into a release with third parties with the effect of
discharging Answering Defendants in this action or limiting the claims or recovery against
them.

7. Answering Defendant raises all affirmative defenses set forth in the Medical
Care, Availability and Reduction of Error (MCARE) Act, 40 P.S. §1303.101, et seq., as a
limit/bar to Plaintiff's claims.

8. If any injuries or damages were suffered as alleged, they may have been caused
by the conduct of third parties for whom Answering Defendant is not liable.

9. If any injuries or damages were suffered as alleged, the negligent acts and/or
omissions of third parties may have constituted intervening, superseding causes of such injuries
and/or damages.

10. —_‘_If any injuries or damages were suffered as alleged, they may have been the
natural and progressive result of Plaintiff's medical condition, and not the result of any
negligence by Answering Defendants.

11. To the extent that discovery or the evidence at trial may establish that the
Plaintiff was negligent and that such negligence caused or contributed to cause the injuries and
damages of which Plaintiff complains, Answering Defendant expressly reserves the right to
assert the affirmative defenses of contributory negligence, comparative negligence, and/or

assumption of the risk.

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12. Answering Defendants assert all restrictions on joint and several liability as
provided in the Fair Share Act, codified at 42 Pa. C.S. § 7102.

13. At all times relevant hereto, Answering Defendants provided care and treatment
to Plaintiff which was commensurate with the standard of care applicable under like
circumstances.

BARLEY SNYDER LLP

Date: Weaver JA, AOD\ BY: Pf pen Dike

Peter J. Faben, Esquire

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CERTIFICATE OF SERVICE

[Ditzler v. PinnacleHealth Obstetrics and Gynecology Specialists]

I HEREBY CERTIFY that a true and correct copy of the foregoing Answer has been
wl

served this on day of | owe ber , 2021, by CM/ECF and email, upon:

Thomas F. Sacchetta, Esquire
Sacchetta & Baldino

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